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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                            Criminal Action No. 1:21-cr-00498 (CJN)

ANDREW QUENTIN TAAKE,

              Defendant.


                                            ORDER

       This matter is before the Court on Defendant’s Sealed Motion, ECF No. 27.

       Accordingly, it is

       ORDERED that Defendant’s Sealed Motion for Leave to File Document Under Seal,

ECF No. 27, is GRANTED. The Defendant’s Supplemental Motion for Appropriate Relief,

ECF No. 27-2, is deemed properly filed under seal. It is further

       ORDERED that counsel for the government serve a copy of Defendant’s Sealed

Supplemental Motion for Appropriate Relief, ECF No. 27-2, on both the United States Marshals

Service and the Federal Bureau of Prisons. And it is further

       ORDERED that both the United States Marshals Service and the Federal Bureau of

Prisons file responses to Defendant’s Sealed Supplemental Motion for Appropriate Relief on or

before July 19, 2022.

       It is SO ORDERED.


DATE: July 7, 2022
                                                               CARL J. NICHOLS
                                                               United States District Judge




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